Case 1:18-cr-00083-TSE Document 296-4 Filed 09/14/18 Page 1 of 17 PagelD# 6576
Case 1:17-cr-00201-ABJ Document 422 Filed 09/14/18 Page 1 of 17

U.S. Department of Justice
The Special Counsel’s Office

Washington, D.C. 20530
September 13, 2018

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Re: United States v. Paul J. Manafort, Jr.. Crim. No. 17-201 (ABI)

Dear Counsel:

This letter sets forth the full and complete plea offer to your client Paul J. Manafort, Jr.
(hereinafter referred to as “your client” or “defendant”) from the Special Counsel’s Office
(hereinafter also referred to as “the Government” or “this Office”). If your client accepts the
terms and conditions of this offer, please have your client execute this document in the space
provided below. Upon receipt of the executed document, this letter will become the Plea
Agreement (hereinafter referred to as the “Agreement”). The terms of the offer are as follows.

1. Charges and Statutory Penalties

Your client agrees to plead guilty in the above-captioned case to all elements of all
objects of all the charges in a Superseding Criminal Information, which will encompass the
charges in Counts One and Two of a Superseding Criminal Information, charging your client
with:

A. conspiracy against the United States, in violation of 18 U.S.C. § 371 (which includes a
conspiracy to: (a) money launder (in violation of 18 U.S.C. § 1956); (b) commit tax fraud

Page 1 of 17 Ap
Case 1:18-cr-00083-TSE Document 296-4 Filed 09/14/18 Page 2 of 17 PagelD# 6577
Case 1:17-cr-00201-ABJ Document 422 Filed 09/14/18 Page 2 of 17

(in violation of 26 U.S.C. § 7206(1)); (c) fail to file Foreign Bank Account Reports (in
violation of 31 U.S.C. §§ 5314 and 5322(b)); (d) violate the Foreign Agents Registration
Act (in violation of 22 U.S.C. §§ 612, 618(a)(1), and 618(a)(2)); and (e) to lie to the
Department of Justice (in violation of 18 U.S.C. § 1001(a) and 22 U.S.C. §§ 612 and
618(a)(2)); and

B. conspiracy against the United States, in violation of 18 U.S.C. § 371, to wit: conspiracy
to obstruct justice by tampering with witnesses while on pre-trial release (in violation of
18 U.S.C. § 1512),

The defendant also agrees not to appeal any trial or pre-trial issue in the Eastern District of
Virginia, or to challenge in the district court any such issue, and admits in the attached
“Statement of the Offense” his guilt of the remaining counts against him in United States v. Paul
J. Manafort. Jr., Crim. No. 1:18-cr-83 (TSE) (hereafter “Eastern District of Virginia.”) A copy
of the Superseding Criminal Information and Statement of the Offense are attached.

Your client understands that each violation of 18 U.S.C. § 371 carries a maximum
sentence of 5 years’ imprisonment; a fine of not more than $250,000, pursuant to 18 U.S.C. §
3571(b)(3); a term of supervised release of not more than 3 years, pursuant to 18 U.S.C. §
3583(b)(2); and an obligation to pay any applicable interest or penalties on fines and restitution
not timely made, and forfeiture.

In addition, your client agrees to pay a mandatory special assessment of $200 to the Clerk
of the United States District Court for the District of Columbia. Your client also understands
that, pursuant to 18 U.S.C. § 3572 and § 5E1.2 of the United States Sentencing Guidelines,
Guidelines Manual (2016) (hereinafter “Sentencing Guidelines,” “Guidelines,” or “U.S.S.G.”),
the Court may also impose a fine that is sufficient to pay the federal government the costs of any
imprisonment, term of supervised release, and period of probation.

2. Factual Stipulations

Your client agrees that the attached Statement of the Offense fairly and accurately
describes and summarizes your client’s actions and involvement in the offenses to which your
client is pleading guilty, as well as crimes charged in the Eastern District of Virginia that remain
outstanding, as well as additional acts taken by him. Please have your client sign and return the
Statement of the Offense, along with this Agreement.

3. Additional Charges

In consideration of your client’s guilty plea to the above offenses, and upon the
completion of full cooperation as described herein and fulfillment of all the other obligations
herein, no additional criminal charges will be brought against the defendant for his heretofore
disclosed participation in criminal activity, including money laundering, false statements,
personal and corporate tax and FBAR offenses, bank fraud, Foreign Agents Registration Act
violations for his work in Ukraine, and obstruction of justice. In addition, subject to the terms of
this Agreement, at the time of sentence or at the completion of his successful cooperation,
whichever is later, the Government will move to dismiss the remaining counts of the Indictment

Page 2 of 17 {9
Case 1:18-cr-00083-TSE Document 296-4 Filed 09/14/18 Page 3 of 17 PagelD# 6578
Case 1:17-cr-00201-ABJ Document 422 Filed 09/14/18 Page 3 of 17

in this matter and in the Eastern District of Virginia and your client waives venue as to such
charges in the event he breaches this Agreement. Your client also waives all rights under the
Speedy Trial act as to any outstanding charges.

4, Sentencing Guidelines Analysis

Your client understands that the sentence in this case will be determined by the Court,
pursuant to the factors set forth in 18 U.S.C. § 3553(a), including a consideration of the
applicable guidelines and policies set forth in the Sentencing Guidelines. Pursuant to Federal
Rule of Criminal Procedure 11(c)(1)(B), and to assist the Court in determining the appropriate
sentence, the Office estimates the Guidelines as follows:

A. Estimated Offense Level Under the Guidelines

Base offense level +8 2S81.1(a) Base Offense Level:

(1) The offense level for the underlying offense
from which the laundered funds were derived, if
(A) the defendant committed the underlying
offense (or would be accountable for the underlying
offense under subsection (a)(1)(A) of §1B1.3
(Relevant Conduct)); and (B) the offense level for
that offense can be determined; or

(2) 8 plus the number of offense levels from the
table in §2B1.1 (Theft, Property Destruction, and
Fraud) corresponding to the value of the laundered
funds, otherwise.

+22 | Using more than $25 million threshold under

2B1.1

Enhancement +2 2S1.1(b)(2)(B) permits enhancement for 2 points if
the conviction is pursuant to §1956.

Enhancement +2 281.1(b)(3) adds two points for sophisticated

laundering (which the guidelines lists as involving
shell corporations and offshore financial accounts.

Enhancement: +4 3B1.1(a) aggravating role — 5 or more participants
or otherwise extensive

Enhancement: +2 3C1.1 obstruction

Combined Offense +0 3D 1.4

level

Acceptance: -3 3E1.1(b) acceptance of responsibility

Total for Counts One | 37 Advisory guidelines range of 210-262

and Two:

Page 3 of 17 JAA
Case 1:18-cr-00083-TSE Document 296-4 Filed 09/14/18 Page 4 of 17 PagelD# 6579
Case 1:17-cr-00201-ABJ Document 422 Filed 09/14/18 Page 4 of 17

The defendant agrees that all of the Sentencing Guidelines for money laundering applicable to
charges brought under 18 U.S.C. § 1956 apply to Count One of the Superseding Criminal
Information brought under 18 U.S.C. § 371.

For the purposes of the Sentencing Guidelines analysis, the government calculates the highest
guideline range among the offenses, namely the object of the conspiracy to violate Title 18
U.S.C. § 1956. The defendant’s estimated guideline range for Count Two, the conspiracy to
obstruct justice, is 30 (before any reduction for acceptance of responsibility), and would be
grouped with Count One pursuant to §3D1.2(c).

B. Acceptance of Responsibility

The Government agrees that a 2-level reduction will be appropriate, pursuant to U.S.S.G.
§ 3E1.1, provided that your client clearly demonstrates acceptance of responsibility, to the
satisfaction of the Government, through your client’s allocution, adherence to every provision of
this Agreement, and conduct between entry of the plea and imposition of sentence. If the
defendant has accepted responsibility as described above, and if the defendant pleads guilty on or
before September 14, 2018, subject to the availability of the Court, an additional one-level
reduction will be warranted, pursuant to U.S.S.G. § 3E1.1(b).

Nothing in this Agreement limits the right of the Government to seek denial of the
adjustment for acceptance of responsibility, pursuant to U.S.S.G. § 3E1.1, and/or imposition of
an adjustment for obstruction of justice, pursuant to U.S.S.G. § 3C1.1, regardless of any
agreement set forth herein, should your client move to withdraw his guilty plea after it is entered,
or should it be determined by the Government that your client has either (a) engaged in conduct,
unknown to the Government at the time of the signing of this Agreement, that constitutes
obstruction of justice, or (b) engaged in additional criminal conduct after signing this Agreement.

In accordance with the above, the applicable Guidelines Offense Level will be at least 37.

Cc. Estimated Criminal History Category

Based upon the information now available to this Office, your client has no criminal
convictions, other than in the Eastern District of Virginia. Your client acknowledges that
depending on when he is sentenced here and how the Guidelines are interpreted, he may have a
criminal history. If additional convictions are discovered during the pre-sentence investigation
by the United States Probation Office, your client’s criminal history points may increase.

D. Estimated Applicable Guidelines Range
Based upon the total offense level and the estimated criminal history category set forth
above, the Office calculates your client’s estimated Sentencing Guidelines range is 210 months

to 262 months’ imprisonment (the “Estimated Guidelines Range”). In addition, the Office
calculates that, pursuant to U.S.S.G. § 5E1.2, should the Court impose a fine, at Guidelines level

Page 4 of 17 Jb
Case 1:18-cr-00083-TSE Document 296-4 Filed 09/14/18 Page 5 of 17 PagelD# 6580
Case 1:17-cr-00201-ABJ Document 422 Filed 09/14/18 Page 5 of 17

37, the estimated applicable fine range is $40,000 to $400,000. Your client reserves the right to
ask the Court not to impose any applicable fine.

Your client agrees that, solely for the purposes of calculating the applicable range under
the Sentencing Guidelines, a downward departure from the Estimated Guidelines Range set forth
above is not warranted, subject to the paragraphs regarding cooperation below. Accordingly,
you will not seek any departure or adjustment to the Estimated Guidelines Range set forth above,
nor suggest that the Court consider such a departure or adjustment for any other reason other
than those specified above. Your client also reserves the right to disagree with the Estimated
Guideline Range calculated by the Office with respect to role in the offense. However, your
client understands and acknowledges that the Estimated Guidelines Range agreed to by the
Office is not binding on the Probation Office or the Court. Should the Court or Probation Office
determine that a different guidelines range is applicable, your client will not be permitted to
withdraw his guilty plea on that basis, and the Government and your client will still be bound by
this Agreement.

Your client understands and acknowledges that the terms of this section apply only to
conduct that occurred before the execution of this Agreement. Should your client engage in any
conduct after the execution of this Agreement that would form the basis for an increase in your
client’s base offense level or justify an upward departure (examples of which include, but are not
limited to, obstruction of justice, failure to appear for a court proceeding, criminal conduct while
pending sentencing, and false statements to law enforcement agents, the probation officer, or the
Court), the Government is free under this Agreement to seek an increase in the base offense level
based on that post-agreement conduct.

5. Agreement as to Sentencing Allocution

Based upon the information known to the Government at the time of the signing of this
Agreement, the parties further agree that a sentence within the Estimated Guidelines Range (or
below) would constitute a reasonable sentence in light of all of the factors set forth in 18 U.S.C.
§ 3553(a), should such a sentence be subject to appellate review notwithstanding the appeal
waiver provided below.

6. Reservation of Allocution

The Government and your client reserve the right to describe fully, both orally and in
writing, to the sentencing judge, the nature and seriousness of your client’s misconduct,
including any misconduct not described in the charge to which your client is pleading guilty.

The parties also reserve the right to inform the presentence report writer and the Courts of
any relevant facts, to dispute any factual inaccuracies in the presentence report, and to contest
any matters not provided for in this Agreement. In the event that the Courts considers any
Sentencing Guidelines adjustments, departures, or calculations different from any agreements
contained in this Agreement, or contemplates a sentence outside the Guidelines range based upon
the general sentencing factors listed in 18 U.S.C. § 3553(a), the parties reserve the right to
answer any related inquiries from the Courts. In addition, your client acknowledges that the

Page 5 of 17 / fll
Case 1:18-cr-00083-TSE Document 296-4 Filed 09/14/18 Page 6 of 17 PagelD# 6581
Case 1:17-cr-00201-ABJ Document 422 Filed 09/14/18 Page 6 of 17

Government is not obligated to file any post-sentence downward departure motion in this case
pursuant to Rule 35(b) of the Federal Rules of Criminal Procedure.

7. Court Not Bound by this Agreement or the Sentencing Guidelines

Your client understands that the sentence in this case will be imposed in accordance with
18 U.S.C. § 3553(a), upon consideration of the Sentencing Guidelines. Your client further
understands that the sentence to be imposed is a matter solely within the discretion of the Courts.
Your client acknowledges that the Courts are not obligated to follow any recommendation of the
Government at the time of sentencing or to grant a downward departure based on your client’s
substantial assistance to the Government, even if the Government files a motion pursuant to
Section 5K1.1 of the Sentencing Guidelines. Your client understands that neither the
Government’s recommendation nor the Sentencing Guidelines are binding on the Courts.

Your client acknowledges that your client’s entry of a guilty plea to the charged offenses
authorizes the Court to impose any sentence, up to and including the statutory maximum
sentence, which may be greater than the applicable Guidelines range determined by the Court.
Although the parties agree that the sentences here and in the Eastern District of Virginia should
run concurrently to the extent there is factual overlap (i.e. the tax and foreign bank account
charges), that recommendation is not binding on either Court. The Government cannot, and does
not, make any promise or representation as to what sentences your client will receive. Moreover,
your client acknowledges that your client will have no right to withdraw your client’s plea of
guilty should the Courts impose sentences that are outside the Guidelines range or if the Courts
do not follow the Government’s sentencing recommendation. The Government and your client
will be bound by this Agreement, regardless of the sentence imposed by the Courts. Any effort
by your client to withdraw the guilty plea because of the length of the sentence shall constitute a
breach of this Agreement.

8. Cooperation

Your client shall cooperate fully, truthfully, completely, and forthrightly with the Government
and other law enforcement authorities identified by the Government in any and all matters as to
which the Government deems the cooperation relevant. This cooperation will include, but is not
limited to, the following:

(a) The defendant agrees to be fully debriefed and to attend all meetings at which his
presence is requested, concerning his participation in and knowledge of all criminal
activities.

(b) The defendant agrees to furnish to the Government all documents and other material
that may be relevant to the investigation and that are in the defendant’s possession or
control and to participate in undercover activities pursuant to the specific instructions
of law enforcement agents or the Government.

(c) The defendant agrees to testify at any proceeding in the District of Colombia or
elsewhere as requested by the Government.

Page 6 of 17 (Mf
Case 1:18-cr-00083-TSE Document 296-4 Filed 09/14/18 Page 7 of 17 PagelD# 6582
Case 1:17-cr-00201-ABJ Document 422 Filed 09/14/18 Page 7 of 17

(d) The defendant consents to adjournments of his sentences as requested by the
Government.

(e) The defendant agrees that all of the defendant’s obligations under this agreement
continue after the defendant is sentenced here and in the Eastern District of Virginia;
and

(f) The defendant must at all times give complete, truthful, and accurate information and
testimony, and must not commit, or attempt to commit, any further crimes.

Your client acknowledges and understands that, during the course of the cooperation
outlined in this Agreement, your client will be interviewed by law enforcement agents and/or
Government attorneys. Your client waives any right to have counsel present during these
interviews and agrees to meet with law enforcement agents and Government attorneys outside of
the presence of counsel. If, at some future point, you or your client desire to have counsel
present during interviews by law enforcement agents and/or Government attorneys, and you
communicate this decision in writing to this Office, this Office will honor this request, and this
change will have no effect on any other terms and conditions of this Agreement.

Your client shall testify fully, completely and truthfully before any and all Grand Juries
in the District of Columbia and elsewhere, and at any and all trials of cases or other court
proceedings in the District of Columbia and elsewhere, at which your client’s testimony may be
deemed relevant by the Government.

Your client understands and acknowledges that nothing in this Agreement allows your
client to commit any criminal violation of local, state or federal law during the period of your
client’s cooperation with law enforcement authorities or at any time prior to the sentencing in
this case. The commission of a criminal offense during the period of your client’s cooperation or
at any time prior to sentencing will constitute a breach of this Agreement and will relieve the
Government of all of its obligations under this Agreement, including, but not limited to, its
obligation to inform this Court of any assistance your client has provided. However, your client
acknowledges and agrees that such a breach of this Agreement will not entitle your client to
withdraw your client’s plea of guilty or relieve your client of the obligations under this
Agreement.

Your client agrees that the sentencing in this case and in the Eastern District of Virginia
may be delayed until your client’s efforts to cooperate have been completed, as determined by

the Government, so that the Courts will have the benefit of all relevant information before a
sentence is imposed.

9. Government’s Obligations

Page 7 of 17 ("

Case 1:18-cr-00083-TSE Document 296-4 Filed 09/14/18 Page 8 of 17 PagelD# 6583
Case 1:17-cr-00201-ABJ Document 422 Filed 09/14/18 Page 8 of 17

The Government will bring to the Courts’ attention at the time of sentencing the nature
and extent of your client’s cooperation or lack of cooperation. The Government will evaluate the
full nature and extent of your client’s cooperation to determine whether your client has provided
substantial assistance in the investigation or prosecution of another person who has committed an
offense. If this Office determines that the defendant has provided substantial assistance in the
form of truthful information and, where applicable, testimony, the Office will file motions
pursuant to Section 5K1.1 of the United States Sentencing Guidelines. Defendant will then be
free to argue for any sentence below the advisory Sentencing Guidelines range calculated by the
Probation Office, including probation.

10. Waivers
A. Venue

Your client waives any challenge to venue in the District of Columbia.
B. Statute of Limitations

Your client agrees that, should any plea or conviction following your client’s pleas of
guilty pursuant to this Agreement, or the guilty verdicts in the Eastern District of Virginia, be
vacated, set aside, or dismissed for any reason (other than by government motion as set forth
herein), any prosecution based on the conduct set forth in the attached Statement of the Offense,
as well as any crimes that the Government has agreed not to prosecute or to dismiss pursuant to
this Agreement, that is not time-barred by the applicable statute of limitations on the date of the
signing of this Agreement, may be commenced or reinstated against your client, notwithstanding
the expiration of the statute of limitations between the signing of this Agreement and the
commencement or reinstatement of such prosecution. It is the intent of this Agreement to waive
all defenses based on the statute of limitations with respect to any prosecution of conduct set
forth in the attached Statement of the Offense, or any other crimes that the Government has
agreed not to prosecute, that are not time-barred on the date that this Agreement is signed. The
Office and any other party will be free to use against your client, directly and indirectly, in any
criminal or civil proceeding, all statements made by your client, including the Statement of the
Offense, and any of the information or materials provided by your client, including such
statements, information, and materials provided pursuant to this Agreement or during the course
of any debriefings conducted in anticipation of, or after entry of, this Agreement, whether or not
the debriefings were previously a part of proffer-protected debriefings, and your client’s
statements made during proceedings before the Court pursuant to Rule 11 of the Federal Rules of
Criminal Procedure.

C. Trial and Other Rights
Your client understands that by pleading guilty in this case your client agrees to waive
certain rights afforded by the Constitution of the United States and/or by statute or rule. Your

client agrees to forgo the right to any further discovery or disclosures of information not already
provided at the time of the entry of your client’s guilty plea. Your client also agrees to waive,

Page 8 of 17 MW
Case 1:18-cr-00083-TSE Document 296-4 Filed 09/14/18 Page 9 of 17 PagelD# 6584
Case 1:17-cr-00201-ABJ Document 422 Filed 09/14/18 Page 9 of 17

among other rights, the right to be indicted by a Grand Jury, the right to plead not guilty, and the
right to a jury trial. If there were a jury trial, your client would have the right to be represented
by counsel, to confront and cross-examine witnesses against your client, to challenge the
admissibility of evidence offered against your client, to compel witnesses to appear for the
purpose of testifying and presenting other evidence on your client’s behalf, and to choose
whether to testify. If there were a jury trial and your client chose not to testify at that trial, your
client would have the right to have the jury instructed that your client’s failure to testify could
not be held against your client. Your client would further have the right to have the jury
instructed that your client is presumed innocent until proven guilty, and that the burden would be
on the United States to prove your client’s guilt beyond a reasonable doubt. If your client were
found guilty after a trial, your client would have the right to appeal your client’s conviction.
Your client understands that the Fifth Amendment to the Constitution of the United States
protects your client from the use of compelled self-incriminating statements in a criminal
prosecution. By entering a plea of guilty, your client knowingly and voluntarily waives or gives
up your client’s right against compelled self-incrimination.

Your client acknowledges discussing with you Rule 11(f) of the Federal Rules of
Criminal Procedure and Rule 410 of the Federal Rules of Evidence, which ordinarily limit the
admissibility of statements made by a defendant in the course of plea discussions or plea
proceedings if a guilty plea is later withdrawn. Your client knowingly and voluntarily hereby
waives the rights that arise under these rules to object to the use of all such statements by him on
and after September 10, 2018, in the event your client breaches this agreement, withdraws his
guilty plea, or seeks to withdraw from this Agreement after signing it. This Agreement
supersedes the proffer agreement between the Government and the client.

Your client also agrees to waive all constitutional and statutory rights to a speedy
sentence and agrees that the pleas of guilty pursuant to this Agreement will be entered at a time
decided upon by the parties with the concurrence of the Court. Your client understands that the
date for sentencing will be set by the Courts.

Your client agrees not to accept remuneration or compensation of any sort, directly or
indirectly, for the dissemination through any means, including but not limited to books, articles,
speeches, blogs, podcasts, and interviews, however disseminated, regarding the conduct
encompassed by the Statement of the Offense, or the investigation by the Office or prosecution
of any criminal or civil cases against him.

D. Appeal Rights

Your client understands that federal law, specifically 18 U.S.C. § 3742, affords
defendants the right to appeal their sentences in certain circumstances. Your client agrees to
waive the right to appeal the sentences in this case and the Eastern District of Virginia, including
but not limited to any term of imprisonment, fine, forfeiture, award of restitution, term or
condition of supervised release, authority of the Courts to set conditions of release, and the
manner in which the sentences were determined, except to the extent the Courts sentence your
client above the statutory maximum or guidelines range determined by the Courts or your client
claims that your client received ineffective assistance of counsel, in which case your client would

Page 9 of 17 Me
Case 1:18-cr-00083-TSE Document 296-4 Filed 09/14/18 Page 10 of 17 PagelD# 6585
Case 1:17-cr-00201-ABJ Document 422 Filed 09/14/18 Page 10 of 17

have the right to appeal the illegal sentence or above-guidelines sentence or raise on appeal a
claim of ineffective assistance of counsel, but not to raise on appeal other issues regarding the
sentencings. In agreeing to this waiver, your client is aware that your client’s sentences have yet
to be determined by the Courts. Realizing the uncertainty in estimating what sentences the
Courts ultimately will impose, your client knowingly and willingly waives your client’s right to
appeal the sentence, to the extent noted above, in exchange for the concessions made by the
Government in this Agreement.

E. Collateral Attack

Your client also waives any right to challenge the conviction entered or sentence imposed
under this Agreement or in the Eastern District of Virginia or otherwise attempt to modify or
change the sentences or the manner in which they were determined in any collateral attack,
including, but not limited to, a motion brought under 28 U.S.C. § 2255 or Federal Rule of Civil
Procedure 60(b), except to the extent such a motion is based on a claim that your client received
ineffective assistance of counsel.

Your client agrees that with respect to all charges referred to herein he is not a
“prevailing party” within the meaning of the “Hyde Amendment,” 18 U.S.C. § 3006A note, and
will not file any claim under that law.

F. Privacy Act and FOIA Rights

Your client also agrees to waive all rights, whether asserted directly or by a
representative, to request or receive from any department or agency of the United States any
records pertaining to the investigation or prosecution of this case, including and without
limitation any records that may be sought under the Freedom of Information Act, 5 U.S.C. § 552,
or the Privacy Act, 5 U.S.C. § 552a, for the duration of the Special Counsel’s investigation.

11. Restitution

Your client understands that the Court has an obligation to determine whether, and in
what amount, mandatory restitution applies in this case under 18 U.S.C. § 3663A. The
Government and your client agree that mandatory restitution does not apply in this case.

12. Forfeiture

a) Your client agrees to the forfeiture set forth in the Forfeiture Allegations in the
Superseding Criminal Information to which your client is pleading guilty. Your client further
agrees to forfeit criminally and civilly the following properties (collectively, the “Forfeited
Assets”) to the United States pursuant to Title 18, United States Code, Sections 981(a)(1)(A),
981(a)(1)(C), 982(a)(1), 982(a)(2); Title 21, United States Code, Section 853(p), and Title 28
U.S.C. § 2461(c), and further agrees to waive all interest in such assets in any administrative or
judicial forfeiture proceeding, whether criminal or civil, state or federal:

1) The real property and premises commonly known as 377 Union Street, Brooklyn, New

Page 10 of 17 (Wo
Case 1:18-cr-00083-TSE Document 296-4 Filed 09/14/18 Page 11 of 17 PagelD# 6586
Case 1:17-cr-00201-ABJ Document 422 Filed 09/14/18 Page 11 of 17

York 11231 (Block 429, Lot 65), including all appurtenances, improvements, and
attachments thereon, and any property traceable thereto;

2) The real property and premises commonly known as 29 Howard Street, #4D, New York,
New York 10013 (Block 209, Lot 1104), including all appurtenances, improvements, and
attachments thereon, and any property traceable thereto;

3) The real property and premises commonly known as 174 Jobs Lane, Water Mill, New York
11976, including all appurtenances, improvements, and attachments thereon, and any
property traceable thereto;

4) All funds held in account number 0969 at The Federal Savings Bank, and any
property traceable thereto;

5) All funds seized from account number 1388 at Capital One N.A., and any
property traceable thereto;

6) All funds seized from account number 9952 at The Federal Savings Bank, and any
property traceable thereto;

7) Northwestern Mutual Universal Life Insurance Policy and any property

traceable thereto;

8) The real property and premises commonly known as 123 Baxter Street, #45D, New York,
New York 10016 in lieu of 1046 N. Edgewood Street; and

9) The real property and premises commonly known as 721 Fifth Avenue, #43G, New York,
New York 10022 in lieu of all funds from account number * at Charles Schwab &
Co. Inc., and any property traceable thereto.

Your client agrees that his consent to forfeiture is final and irrevocable as to his interests in the
Forfeited Assets.

b) Your client agrees that the facts set forth in the Statement of Facts and admitted to
by your client establish that the Forfeited Assets are forfeitable to the United States pursuant to
Title 18, United States Code, Sections 981 and 982, Title 21, United States Code, Section 853,
and Title 28, United States Code, Section 2461. Your client admits that the Forfeited Assets
numbered 1 through 7, above, represent property that constitutes or is derived from proceeds of,
and property involved in, the criminal offenses in the Superseding Criminal Information to which

-your client is pleading guilty. Your client further agrees that all the Forfeited Assets (numbered
1 through 9) can additionally be considered substitute assets for the purpose of forfeiture to the
United States pursuant to Title 18, United States Code, Section 982(b); Title 21, United States
Code, Section 853(p); and Title 28, United States Code, Section 2461(c).

Page 11 of 17 (Wo
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Case 1:18-cr-00083-TSE Document 296-4 Filed 09/14/18 Page 12 of 17 PagelD# 6587
Case 1:17-cr-00201-ABJ Document 422 Filed 09/14/18 Page 12 of 17

c) Your client agrees that the Court may enter a preliminary order of forfeiture for
the Forfeited Assets at the time of your client’s guilty plea or at any time before sentencing, and
consents thereto. Your client agrees that the Court can enter a Final Order of Forfeiture for the
Forfeited Assets, and could do so as part of his sentence.

d) Your client further agrees that the government may choose in its sole discretion
how it wishes to accomplish forfeiture of the property whose forfeiture your client has consented
to in this plea agreement, whether by criminal or civil forfeiture, using judicial or non-judicial
forfeiture processes. If the government chooses to effect the forfeiture provisions of this plea
agreement through the criminal forfeiture process, your client agrees to the entry of orders of
forfeiture for such property and waives the requirements of Federal Rules of Criminal Procedure
11(b)(1)J) and 32.2 regarding notice of the forfeiture in the charging instrument, advice
regarding the forfeiture at the change-of-plea hearing, announcement of the forfeiture at
sentencing, and incorporation of the forfeiture in the judgment.

e) Your client understands that the United States may institute civil or administrative
forfeiture proceedings against all forfeitable property in which your client has an interest,
including the Forfeited Assets, without regard to the status of his criminal conviction. Your
client further consents to the civil forfeiture of the Forfeited Assets to the United States, without
regard to the status of his criminal conviction. In connection therewith, your client specifically
agrees to waive all right, title, and interest in the Forfeited Assets, both individually and on
behalf of DMP International, Summerbreeze LLC, or any other entity of which he is an officer,
member, or has any ownership interest. Your client waives all defenses based on statute of
limitations and venue with respect to any administrative or civil forfeiture proceeding related to
the Forfeited Assets.

f) Your client represents that with respect to each of the Forfeited Assets, he is
either the sole and rightful owner and that no other person or entity has any claim or interest, or
that he has secured the consent from any other individuals or entities having an interest in the
Forfeited Assets to convey their interests in the Forfeited Assets to him prior to entry of the
Order of Forfeiture (with the exception of previously disclosed mortgage holders). Your client
warrants that he has accurately represented to the Government all those individuals and entities
having an interest in the Forfeited Assets and the nature and extent of those interests, including
any mortgages or liens on the Forfeited Assets. Your client agrees to take all steps to pass clear
title to the Forfeited Assets to the United States (with the exception of previously disclosed
mortgage liens). Your client further agrees to testify truthfully in any judicial forfeiture
proceeding, and to take all steps to effectuate the same as requested by the Government. Your
client agrees to take all steps requested by the Government to obtain from any other parties by
any lawful means any records of assets owned at any time by your client, including but not
limited to the Forfeited Assets, and to otherwise facilitate the effectuation of forfeiture and the
maximization of the value of Forfeited Assets for the United States.

g) Your client agrees that, to the extent that he does not convey to the United States

Page 12 of 17 (ee
Case 1:18-cr-00083-TSE Document 296-4 Filed 09/14/18 Page 13 of 17 PagelD# 6588
Case 1:17-cr-00201-ABJ Document 422 Filed 09/14/18 Page 13 of 17

clear title to each of the Forfeited Assets, the United States is entitled, in its sole discretion, either
to vacatur of the plea agreement or to forfeiture to the United States of a sum of money equal to
the value of that asset at the time this agreement was executed. Your client consents to
modification of any Order of Forfeiture at any point to add such sum of money as a forfeiture
judgment in substitution for Forfeited Assets.

h) Your client hereby abandons any interest he has in all forfeitable property and
consents to any disposition of the property by the government without further notice or
obligation whatsoever owning to your client.

i) Your client agrees not to interpose any claim, or to assist others to file or
interpose any claim, to the Forfeited Assets in any proceeding, including but not limited to any
civil or administrative forfeiture proceedings and any ancillary proceedings related to criminal
forfeiture. Your client agrees that he shall not file any petitions for remission, restoration, or any
other assertion of ownership or request for return relating to the Forfeited Assets, or any other
action or motion seeking to collaterally attack the seizure, restraint, forfeiture, or conveyance of
the Forfeited Assets, nor shall your client assist any other in filing any such claims, petitions,
actions, or motion. Contesting or assisting others in contesting forfeiture shall constitute a
material breach of the Agreement, relieving the United States of all its obligations under the
Agreement. Your client agrees not to seek or accept, directly or indirectly, reimbursement or
indemnification from any source with regard to the assets forfeited pursuant to this Agreement.

j In the event your client fails to deliver the assets forfeited pursuant to this
agreement, or in any way fails to adhere to the forfeiture provisions of this agreement, the United
States reserves all remedies available to it, including but not limited to vacating the Agreement
based on a breach of the Agreement by your client.

k) Your client agrees that the forfeiture provisions of this plea agreement are
intended to, and will, survive him notwithstanding the abatement of any underlying criminal
conviction after the execution of this Agreement.

1) Your client agrees that he will not claim, assert, or apply for, directly or
indirectly, any tax deduction, tax credit, or any other taxable offset with regard to any federal,
state, or local tax or taxable income for payments of any assets forfeited pursuant to this
Agreement.

m) Your client agrees to waive all constitutional and statutory challenges in any
manner (including, but not limited to, direct appeal) to any forfeiture carried out in accordance
with this Agreement on any grounds, including that the forfeiture constitutes an excessive fine or
punishment.

Page 13 of 17

Case 1:18-cr-00083-TSE Document 296-4 Filed 09/14/18 Page 14 of 17 PagelD# 6589
Case 1:17-cr-00201-ABJ Document 422 Filed 09/14/18 Page 14 of 17

13. Breach of Agreement

Your client understands and agrees that, if after entering this Agreement, your client fails
specifically to perform or to fulfill completely each and every one of your client’s obligations
under this Agreement, or engages in any criminal activity prior to sentencing or during his
cooperation (whichever is later), your client will have breached this Agreement. Should it be
judged by the Government in its sole discretion that the defendant has failed to cooperate fully,
has intentionally given false, misleading or incomplete information or testimony, has committed
or attempted to commit any further crimes, or has otherwise violated any provision of this
agreement, the defendant will not be released from his pleas of guilty but the Government will be
released from its obligations under this agreement, including (a) not to oppose a downward
adjustment of two levels for acceptance of responsibility described above, and to make the
motion for an additional one-level reduction described above and (b) to file the motion for a
downward departure for cooperation described above. Moreover, the Government may
withdraw the motion described above, if such motion has been filed prior to sentencing. In the
event that it is judged by the Government that there has been a breach: (a) your client will be
fully subject to criminal prosecution, in addition to the charges contained in the Superseding
Criminal Information, for any crimes to which he has not pled guilty, including perjury and
obstruction of justice; and (b) the Government and any other party will be free to use against
your client, directly and indirectly, in any criminal or civil proceeding, all statements made by
your client, including the Statement of the Offense, and any of the information or materials
provided by your client, including such statements, information, and materials provided pursuant
to this Agreement or during the course of any debriefings conducted in anticipation of, or after
entry of, this Agreement, whether or not the debriefings were previously a part of proffer-
protected debriefings, and your client’s statements made during proceedings before the Court
pursuant to Rule 11 of the Federal Rules of Criminal Procedure.

Your client understands and agrees that the Government shall be required to prove a
breach of this Agreement only by good faith.

Nothing in this Agreement shall be construed to protect your client from prosecution for
any crimes not included within this Agreement or committed by your client after the execution of
this Agreement. Your client understands and agrees that the Government reserves the right to
prosecute your client for any such offenses. Your client further understands that any perjury,
false statements or declarations, or obstruction of justice relating to your client’s obligations
under this Agreement shall constitute a breach of this Agreement. In the event of such a breach,
your client will not be allowed to withdraw your client’s guilty plea.

14. Complete Agreement

Apart from the written proffer agreement initially dated September 11, 2018, which this
Agreement supersedes, no agreements, promises, understandings, or representations have been

Page 14 of 17 (i
Case 1:18-cr-00083-TSE Document 296-4 Filed 09/14/18 Page 15 of 17 PagelD# 6590
Case 1:17-cr-00201-ABJ Document 422 Filed 09/14/18 Page 15 of 17

made by the parties or their counsel other than those contained in writing herein, nor will any
such agreements, promises, understandings, or representations be made unless committed to
writing and signed by your client, defense counsel, and the Office.

Your client further understands that this Agreement is binding only upon the Office. This
Agreement does not bind any United States Attorney’s Office, nor does it bind any other state,
local, or federal prosecutor. It also does not bar or compromise any civil, tax, or administrative
claim pending or that may be made against your client.

If the foregoing terms and conditions are satisfactory, your client may so indicate by

Page 15 of 17 [Me
Case 1:18-cr-00083-TSE Document 296-4 Filed 09/14/18 Page 16 of 17 PagelD# 6591
Case 1:17-cr-00201-ABJ Document 422 Filed 09/14/18 Page 16 of 17

signing this Agreement and the Statement of the Offense, and returning both to the Office no
later than September 14, 2018.

Sincerely yours,

ROBERT S. MUELLER, III
Special Counsel

Andrew Weissmann

Jeannie S. Rhee

Greg D. Andres

Kyle R. Freeny

Senior/Assistant Special Counsels

Page 16 of 17 MY
Case 1:18-cr-00083-TSE Document 296-4 Filed 09/14/18 Page 17 of 17 PagelD# 6592
Case 1:17-cr-00201-ABJ Document 422 Filed 09/14/18 Page 17 of 17

DEFENDANT’S ACCEPTANCE

I have read every page of this Agreement and have discussed it with my attorneys Kevin
Downing, Thomas Zehnle, and Richard Westling. I am fully satisfied with the legal
representation by them, who I have chosen to represent me herein. Nothing about the quality of
the representation of other counsel is affecting my decision herein to plead guilty. I fully
understand this Agreement and agree to it without reservation. I do this voluntarily and of my
own free will, intending to be legally bound. No threats have been made to me nor am I under
the influence of anything that could impede my ability to understand this Agreement fully. I am
pleading guilty because I am in fact guilty of the offense identified in this Agreement.

I reaffirm that absolutely no promises, agreements, understandings, or conditions have
been made or entered into in connection with my decision to plead guilty except those set forth
in this Agreement. I am satisfied with the legal services provided by my attorneys in connection
with this Agreement and matters related to it.

Date: %-/3-0f lal Yes

Defendant

ATTORNEYS’? ACKNOWLEDGMENT

I have read every page of this Agreement, reviewed this Agreement with my client, Paul
J. Manafort, and fully discussed the provisions of this Agreement with my client. These pages
accurately and completely set forth the entire Agreement. I concur in my client’s desire to plead
guilty as set forth in this Agreement.

Date: }- |3- Zeit

Keyin M. Downing (
ichard W. Westling

Thomas E. Zehnle

Attorneys for Defendant

Page 17 of 17 / fa
